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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS


 CATHERINE ALEXANDER,            )
                                 )
                  Plaintiff,     )
                                 )
 vs.                             )                     Case No. 18-cv-966-SMY
                                 )
 TAKE-TWO INTERACTIVE            )
 SOFTWARE, INC. 2K GAMES, INC.,  )
 2K SPORTS INC., WORLD           )
 WRESTLING ENTERTAINMENT, INC., )
 VISUAL CONCEPTS                 )
 ENTERTAINMENT, YUKE'S CO., LTD, )
 YUKES LA INC.,                  )
                                 )
                  Defendants.    )


                                             ORDER
YANDLE, District Judge:

       As discussed on the record during the January 24, 2022 final pretrial conference, the Court

makes the following rulings for case management purposes:

       Due to the public health crisis presented by the COVID-19 pandemic, jury trial is RESET

for September 26, 2022, at 9:00 a.m. in the East St. Louis Courthouse. The final pretrial conference

is CONTINUED to September 14, 2022, at 9:30 a.m. via video conference. Information regarding

the video conference will be sent by email to all parties.

                                    Rule 26(a)(3) Disclosures

       Defendants’ First Amended Rule 26(a)(3) disclosures (Doc. 243) is properly submitted as

to form. Plaintiff requested leave to file objections to the disclosures on September 7, 2021 and

attached the proposed objections as Exhibit 1 (see Doc. 248-1). The Court granted leave on

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September 8, 2021 (Doc. 250); however, Plaintiff has not filed objections to date. Accordingly,

Plaintiff is DIRECTED to file any objections to Defendants’ First Amended Rule 26(a)(3)

Disclosures (Doc. 243) instanter. For ease of reference on the Court’s docket, Plaintiff is further

DIRECTED to file the objections as “Plaintiff’s Objections to Defendants’ First Amended Rule

26(a)(3) Disclosures.”

       Plaintiff’s First Amended Rule 26(a)(3) Disclosures (Doc. 253) is properly submitted as to

form. Defendants’ objections to the disclosures (Doc. 255) is STRICKEN. Defendants are

DIRECTED to re-file their objections without the attachments – Exhibits 1-4. For ease of

reference on the Court’s docket, Defendants are further DIRECTED to file the document as

“Defendants’ Objections to Plaintiff’s First Amended Rule 26(a)(3) Disclosures.”

                                  Proposed Final Pretrial Order

       The parties are directed to meet and confer and submit a joint proposed final pretrial order

(“FPTO”) by September 9, 2022. The parties shall utilize the Court’s form FPTO without

deviations. The parties are reminded that the proposed FPTO should succinctly address the various

aspects of the trial and the parties’ agreements regarding those areas.

                                     Deposition Designations

       The parties shall meet, confer, and, after resolving all disputes possible, submit a single

joint document setting forth the following for each relevant deposition: Defendants’ designations,

Plaintiff’s objections (if any), Plaintiff’s counter-designations, and Defendants’ objections (if any).

Objections should be brief and limited to legal objections (relevance, Rule 403, etc…). The

designations along with full transcripts of the depositions shall be submitted to the Court via email

by September 7, 2022.



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                                    Motions in Limine

       The motions in limine (Docs. 210, 212) are STRICKEN. The parties shall re-file any

motion in limine by August 24, 2022. The parties are DIRECTED to review and comply with the

undersigned’s Case Management Procedures regarding motions in limine.

       IT IS SO ORDERED.

       DATED: January 25, 2022




                                                 STACI M. YANDLE
                                                 United States District Judge




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